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                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

   In re:                                 )
   Sheri Lou Cumberledge                  )       Case No.: 17-24288 JAD
                                          )       Chapter 13
          Debtor(s)                       )
   _______________________________________)
   Ronda J. Winnecour, Chapter 13         )
   Trustee,                               )
                                          )
          Movant,                         )
                                          )
            Vs.                           )
   AmeriHome Mortgage Company, LLC        )
                                          )
          Respondent(s)                   )

          TRUSTEE’S MOTION TO PRECLUDE POSTPETITION MORTGAGE
                      FEES, EXPENSES AND CHARGES

      AND NOW, Ronda J. Winnecour, Standing Chapter 13 Trustee for the
   Western District of Pennsylvania, reports, as follows:
      1. This case was filed on October 27, 2017.
      2. AmeriHome Mortgage Company, LLC, filed a Notice of Postpetition
         Mortgage Fees, Expenses, and Charges on July 19, 2018.
      3. The Trustee avers that the Notice should be disallowed in its entirety.
      4. The attorney’s fees should be disallowed because they have not been
         explained. The Trustee requests proof as to when they were incurred, for
         what they were incurred, or for the charges to be disallowed.
      5. The charge of $1,050.00 for filing a proof of claim and objecting to
         confirmation clearly reflects a flat rate charged by agreement between the
         creditor and counsel.      However, reasonable legal fees are properly
         assessed to the estate. In this district, reasonable legal fees, assuming
         they were actually provided, are determined by the lodestar formula
         which requires multiplying the number of hours reasonably expended by
         a reasonable hourly rate. The notice does not contain proof of either.
         Sadler v. Balboa Capital Corp., 2014 U.S. Dist. LEXIS 27161 (W.D. Pa.
         2014).
      6. The Trustee does not believe the underlying contract authorizes the fees,
         costs, and charges.
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      7. Pennsylvania law controls. The mortgage is a “residential mortgage” as
         defined by 41.P.S.101. A lender may not charge legal fees until 30 days
         following the “Act 6” notice. 41 P.S. 406(a)(3). Even then the lender may
         only charge a maximum of $50.00 until the commencement of a
         foreclosure or other legal action.   Bankruptcy related services do not
         constitute other legal action. In re Graboyes, 223 Fed. Appx.112 (3d Cir.
         2007), In re DeTone, 262 B.R. 359 (Bankr. W.D. {a. 2001). The Trustee is
         unable to determine from the documentation provided by the creditor
         that “Act 6” notice was given, the date that it was given, or whether a
         foreclosure or other legal action was timely commenced and therefore,
         the Trustee challenges the fees on the basis that they exceed the
         allowable amounts. 41 P.S. 406(a)(3). Quicken Loans, Inc. v Winnecour
         (In re Dworek) 2018 Bankr. LEXIS 2508, 2018 WL 4027475 Bankr. WD
         PA (August 22, 2018).
      8. The Trustee requests strict proof as to how all charges on the Notice are
         incurred, why they were incurred, all documentation and authority that
         supports these charges as an appropriate post-petition expense of the
         bankruptcy estate.
      9. The Trustee is concerned that even if the creditor seeks to withdraw the
         Notice of Postpetition Mortgage Fees, Expenses and Charges that the
         charges will remain on the creditor’s records and will be improperly
         assessed against the loan.     The Trustee requests that this Honorable
         Court order the creditor to provide proof that the loan history has been
         corrected even if the creditor seeks to withdraw the Notices.
      10.The Trustee requests that this Court enter an Order that precludes the
         Creditor from assessing the cost of defending this Objection to the
         debtors or the loan.
         WHEREFORE, the Trustee respectfully requests that the Notices be
      disallowed and that this Honorable Court order the Respondent to provide
      proof that the records have been adjusted to remove these charges.
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                                        Respectfully Submitted,

   6/10/2019                            /s/ Ronda J. Winnecour

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